Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 1 of 12




                         EXHIBIT D
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 2 of 12




          September 30, 2021

          Douglas Hibbard
          Chief, Initial Request Staff
          Office of Information Policy
          Department of Justice, 6th Floor
          441 G Street, N.W.
          Washington, D.C. 20530-0001


          Submitted via FOIA STAR


          Re:     Request Under Freedom of Information Act Concerning Final Policies
                  Implementing OLC Memorandum Requiring BOP to Reincarcerate
                  People Who Were Placed on Home Confinement Under the CARES
                  Act

          (Expedited Processing & Fee Waiver Requested)


          To Whom It May Concern:

                  The American Civil Liberties Union, the American Civil Liberties Union
          Foundation, and the American Civil Liberties Union of the District of Columbia
          (together, the “ACLU”)1 submit this Freedom of Information Act (“FOIA”)
          request (the “Request”) for any and all final Bureau of Prisons (BOP), Office of
          the Attorney General, Office of the Deputy Attorney General, or Department of
          Justice policies implementing the Office of Legal Counsel’s (OLC) memorandum
          concluding that certain people the BOP placed on home confinement pursuant to
          expanded authority under the Coronavirus Aid, Relief, and Economic Security
          (CARES) Act must be reincarcerated when the President lifts the COVID-19
          emergency declaration.2



                  1
                    The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3)
          organization that provides legal representation free of charge to individuals and
          organizations in civil rights and civil liberties cases, and educates the public about civil
          rights and civil liberties issues across the country. The American Civil Liberties Union is
          a separate non-profit, 26 U.S.C. § 501(c)(4) membership organization that educates the
          public about the civil liberties implications of pending and proposed state and federal
          legislation, provides analysis of pending and proposed legislation, directly lobbies
          legislators, and mobilizes its members to lobby their legislators.
                  2
                   U.S. Department of Justice, Home Confinement of Federal Prisoners After the
          COVID-19 Emergency (January 15, 2021),
          https://www.justice.gov/olc/file/1355886/download.
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 3 of 12




                                             I. Background

                  In March 2020, the CARES Act expanded BOP’s authority to place
          incarcerated people on home confinement under 18 U.S.C. §3624(c)(2) in order to
          reduce the federal prison population and the spread of COVID-19. CARES Act
          Sec. 12003(b)(2). In January 2021, OLC published a memorandum concluding
          that once the COVID-19 emergency period is over, BOP must reincarcerate
          people who were put on home confinement under CARES and have more than the
          standard home confinement term left on their sentences.3 On September 7, 2021,
          the United States filed a brief in federal district court stating that “[a]t present,
          neither the Attorney General nor the Bureau has acted on this advice by setting
          forth a policy to govern CARES Act home confinement placements after the end
          of the COVID-19 emergency.”4

                  Since it was reported that OLC—under President Biden—would not
          rescind or reconsider its decision,5 significant public outcry has ensued.6 To
          provide the American public with information about how BOP plans to
          reincarcerate thousands of people when the pandemic ends, the ACLU seeks the
          relevant materials through this FOIA request.

                 3
                   U.S. Department of Justice, Home Confinement of Federal Prisoners After the
          COVID-19 Emergency (January 15, 2021),
          https://www.justice.gov/olc/file/1355886/download.
                 4
                    Martinez-Brooks v. Garland, Defendants’ Brief In Support of Their Motion to
          Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1), No. 21-11307 (BRM)(JSA) (D. N.J. Sept. 7,
          2021) at 9.
                 5
                   See Charlie Savage and Zolan Kanno-Youngs, Biden Legal Team Decides
          Inmates Must Return to Prison After Covid Emergency, N.Y. Times (July 19, 2021),
          https://www.nytimes.com/2021/07/19/us/politics/biden-prisoners-covid.html.
                 6
                    See e.g., John Yang, Inmates released to home confinement during pandemic
          fear ‘devastating’ reincarceration, PBS News Hour (September 21, 2021)
          https://www.pbs.org/newshour/show/inmates-released-to-home-confinement-during-
          pandemic-fear-devastating-reincarceration; Unless Biden intervenes, people will
          needlessly be sent back to prison, Editorial Board, Washington Post (July 25, 2021)
          https://www.washingtonpost.com/opinions/2021/07/25/unless-mr-biden-intervenes-
          people-will-needlessly-be-sent-back-prison/; Dan King, Biden Must Act to Ensure
          Nonviolent Offenders Aren’t Sent Back to Prison, The Bulwark (August 19, 2021),
          https://www.thebulwark.com/biden-must-act-to-ensure-nonviolent-offenders-arent-sent-
          back-to-prison/; Democracy Forward et al., Letter to the Office of Legal Counsel and
          Deputy Attorney General, (February 18, 2021), https://democracyforward.org/wp-
          content/uploads/2021/08/Letter-Seeking-Reconsideration-of-OLC-Home-Confinement-
          Memo-8.4.21.pdf; Kristine Phillips, ACLU, NAACP among those pressing Biden to grant
          clemency to inmates sent home during COVID-19, USA Today (July 19, 2021)
          https://www.usatoday.com/story/news/politics/2021/07/19/biden-pressed-grant-
          clemency-inmates-sent-home-during-covid/7980882002/
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 4 of 12




                                            II. Requested Records

                  The ACLU seeks the following records:

               (1) Any and all final Office of the Attorney General, Office of the Deputy
                   Attorney General, or Department of Justice policies, directives, decisions,
                   instructions, memoranda, or other documents that were promulgated in
                   response to, based on, cite, and/or implement the OLC memorandum
                   concluding that certain people BOP placed on home confinement pursuant
                   to expanded authority under the CARES Act must be reincarcerated when
                   the President lifts the COVID-19 emergency declaration.7

               (2) Any and all final BOP policies, directives, decisions, instructions,
                   memoranda, or other documents that were promulgated in response to,
                   based on, cite, and/or implement the OLC memorandum concluding that
                   certain people BOP placed on home confinement pursuant to expanded
                   authority under the CARES Act must be reincarcerated when the President
                   lifts the COVID-19 emergency declaration.8

                  With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
          ACLU requests that responsive electronic records be provided electronically in
          their native file format, if possible. Alternatively, the ACLU requests that the
          records be provided electronically in a text-searchable, static-image format (PDF),
          in the best image quality in the agency’s possession, and that the records be
          provided in separate, Bates-stamped files.

                                 III. Application for Expedited Processing

                   The ACLU requests expedited processing pursuant to 5 U.S.C.
          § 552(a)(6)(E).9 There is a “compelling need” for these records, as defined in the
          statute, because the information requested is “urgen[tly]” needed by an
          organization primarily engaged in disseminating information “to inform the
          public concerning actual or alleged Federal Government activity.” 5
          U.S.C. § 552(a)(6)(E)(v)(II).

          A.      The ACLU is an organization primarily engaged in disseminating
                  information in order to inform the public about actual or alleged

                  7
                    U.S. Department of Justice, Home Confinement of Federal Prisoners After the
          COVID-19 Emergency (January 15, 2021),
          https://www.justice.gov/olc/file/1355886/download.
                  8
                      Id.
                  9
                      See also 28 C.F.R. s 16.5(e).
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 5 of 12




                  government activity.

                  The ACLU is “primarily engaged in disseminating information” within the
          meaning of the statute. Id.10 Obtaining information about government activity,
          analyzing that information, and widely publishing and disseminating it to the
          press and public are critical and substantial components of the ACLU’s work and
          are among its primary activities. See ACLU v. Dep’t of Justice, 321 F. Supp. 2d
          24, 29 n.5 (D.D.C. 2004) (finding non-profit public interest group that “gathers
          information of potential interest to a segment of the public, uses its editorial skills
          to turn the raw material into a distinct work, and distributes that work to an
          audience” to be “primarily engaged in disseminating information”).11

                  The ACLU regularly publishes the ACLU magazine that reports on and
          analyzes civil liberties-related current events. The magazine is disseminated to
          over 900,000 people. The ACLU also publishes regular updates and alerts via
          email to 4.8 million subscribers (both ACLU members and non-members). These
          updates are additionally broadcast to over 5.9 million social media followers. The
          magazine as well as the email and social-media alerts often include descriptions
          and analysis of information obtained through FOIA requests.

                The ACLU also regularly issues press releases to call attention to
          documents obtained through FOIA requests, as well as other breaking news,12 and
                  10
                       See also 28 C.F.R. § 16.5(e)(1)(ii).
                  11
                     Courts have found that the ACLU as well as other organizations with similar
          missions that engage in information-dissemination activities similar to the ACLU are
          “primarily engaged in disseminating information.” See, e.g., Leadership Conference on
          Civil Rights v. Gonzales, 404 F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp.
          2d at 29 n.5; Elec. Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).
                  12
                     See, e.g., Press Release, ACLU, Federal Court Permanently Blocks Billions of
          Dollars in Border Wall Construction (June 28, 2019), https://www.aclu.org/press-
          releases/federal-court-permanently-blocks-billions-dollars-border-wall-construction;
          Press Release, ACLU, New Documents Reveal NSA Improperly Collected Americans’
          Call Records Yet Again (June 26, 2019), https://www.aclu.org/press-releases/new-
          documents-reveal-nsa-improperly-collected-americans-call-records-yet-again; Press
          Release, ACLU, ACLU and Center for Media Justice Sue FBI for Records on
          Surveillance of Black Activists (Mar. 21, 2019), https://www.aclu.org/press-
          releases/aclu-and-center-media-justice-sue-fbi-records-surveillance-black-activists; Press
          Release, ACLU, ACLU, Privacy International Demand Government Disclose Nature and
          Extent of Hacking Activities (Dec. 21, 2018), https://www.aclu.org/press-releases/aclu-
          privacy-international-demand-government-disclose-nature-and-extent-hacking; Press
          Release, ACLU, New Documents Reveal Government Plans to Spy on Keystone XL
          Protesters (Sept. 4, 2018), https://www.aclu.org/news/new-documents-reveal-
          government-plans-spy-keystone-xl-protesters; Press Release, ACLU, ACLU Obtains
          Documents Showing Widespread Abuse of Child Immigrants in U.S. Custody (May 22,
          2018), https://www.aclu.org/news/aclu-obtains-documents-showing-widespread-abuse-
          child-immigrants-us-custody; Press Release, ACLU, ACLU Demands CIA Records on
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 6 of 12




          ACLU attorneys are interviewed frequently for news stories about documents
          released through ACLU FOIA requests.13

                   Similarly, the ACLU publishes reports about government conduct and
          civil liberties issues based on its analysis of information derived from various
          sources, including information obtained from the government through FOIA
          requests. This material is broadly circulated to the public and widely available to

          Campaign Supporting Haspel Nomination (May 4, 2018),
          https://www.aclu.org/news/aclu-demands-cia-records-campaign-supporting-haspel-
          nomination; Press Release, ACLU, Advocates File FOIA Request For ICE Documents on
          Detention of Pregnant Women (May 3, 2018), https://www.aclu.org/news/advocates-file-
          foia-request-ice-documents-detention-pregnant-women; Press Release, ACLU, Civil
          Rights Organizations Demand Police Reform Documents from Justice Department (Jan.
          4, 2018), https://www.aclu.org/news/civil-rights-organizations-demand-police-reform-
          documents-justice-department; Press Release, ACLU, ACLU Files Lawsuits Demanding
          Local Documents on Implementation of Muslim Ban (Apr. 12, 2017),
          https://www.aclu.org/news/aclu-files-lawsuits-demanding-local-documents-
          implementation-trump-muslim-ban; Press Release, ACLU, U.S. Releases Drone Strike
          ‘Playbook’ in Response to ACLU Lawsuit (Aug. 6, 2016), https://www.aclu.org/news/us-
          releases-drone-strike-playbook-response-aclu-lawsuit; Press Release, ACLU, Secret
          Documents Describe Graphic Abuse and Admit Mistakes (June 14, 2016),
          https://www.aclu.org/news/cia-releases-dozens-torture-documents-response-aclu-lawsuit;
          Press Release, ACLU, ACLU Sues for Bureau of Prisons Documents on Approval of
          CIA Torture Site (Apr. 14 2016), https://www.aclu.org/news/aclu-sues-bureau-prisons-
          documents-approval-cia-torture-site.
                  13
                      See, e.g., Charlie Savage, N.S.A. Gathered Domestic Calling Records It Had
          No Authority to Collect, N.Y. Times, June 26, 2019,
          https://www.nytimes.com/2019/06/26/us/telecom-nsa-domestic-calling-records.html
          (quoting ACLU attorney Patrick Toomey); Rachel Frazin, ACLU Sues FBI Over Black
          Activist Surveillance Records, Hill, Mar. 21, 2019, https://thehill.com/policy/national-
          security/fbi/435143-fbi-sued-over-black-activist-surveillance-records (quoting ACLU
          attorney Nusrat Choudhury); Cora Currier, TSA’s Own Files Show Doubtful Science
          Behind Its Behavioral Screen Program, Intercept, Feb. 8, 2017,
          https://theintercept.com/2017/02/08/tsas-own-files-show-doubtful-science-behind-its-
          behavior-screening-program (quoting ACLU attorney Hugh Handeyside); Larry
          Neumeister, Judge Scolds Government over Iraq Detainee Abuse Pictures, The
          Associated Press, Jan. 18, 2017, https://www.apnews.com/865c32eebf4d457499c017eb
          837b34dc (quoting ACLU project director Hina Shamsi); Karen DeYoung, Newly
          Declassified Document Sheds Light on How President Approves Drone Strikes, Wash.
          Post, Aug. 6, 2016, http://wapo.st/2jy62cW (quoting former ACLU deputy legal director
          Jameel Jaffer); Catherine Thorbecke, What Newly Released CIA Documents Reveal
          About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
          http://abcn.ws/2jy40d3 (quoting ACLU attorney Dror Ladin); Nicky Woolf, US Marshals
          Spent $10M on Equipment for Warrantless Stingray Device, Guardian, Mar. 17, 2016,
          https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-
          airborne (quoting ACLU attorney Nathan Freed Wessler); David Welna, Government
          Suspected of Wanting CIA Torture Report to Remain Secret, NPR, Dec. 9, 2015,
          http://n.pr/2jy2p71 (quoting ACLU project director Hina Shamsi).
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 7 of 12




          everyone for no cost or, sometimes, for a small fee. ACLU national projects
          regularly publish and disseminate reports that include a description and analysis
          of government documents obtained through FOIA requests.14 The ACLU also
          regularly publishes books, “know your rights” materials, fact sheets, and
          educational brochures and pamphlets designed to educate the public about civil
          liberties issues and government policies that implicate civil rights and liberties.

                  The ACLU publishes a widely read blog where original editorial content
          reporting on and analyzing civil rights and civil liberties news is posted daily. See
          https://www.aclu.org/blog. The ACLU creates and disseminates original editorial
          and educational content on civil rights and civil liberties news through multi-
          media projects, including videos, podcasts, and interactive features. See
          https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
          disseminates information through its heavily visited website, www.aclu.org. The
          website addresses civil rights and civil liberties issues in depth, provides features
          on civil rights and civil liberties issues in the news, and contains many thousands
          of documents relating to the issues on which the ACLU is focused. The ACLU’s
          website also serves as a clearinghouse for news about ACLU cases, including
          analysis about case developments and an archive of case-related documents.
          Through these pages, and with respect to each specific civil liberties issue, the
          ACLU provides the public with educational material, recent news, analyses of
          relevant congressional or executive branch action, government documents
          obtained through FOIA requests, and further in-depth analytic and educational
          multi-media features.15


                  14
                     See, e.g., ACLU, Bad Trip: Debunking the TSA’s ‘Behavior Detection’
          Program (2017), https://www.aclu.org/sites/default/files/field_document/dem17-
          tsa_detection_report-v02.pdf; Carl Takei, ACLU-Obtained Emails Prove that the Federal
          Bureau of Prisons Covered Up Its Visit to the CIA’s Torture Site (Nov. 22, 2016),
          https://www.aclu.org/blog/speak-freely/aclu-obtained-emails-prove-federal-bureau-
          prisons-covered-its-visit-cias-torture; Brett Max Kaufman, Details Abound in Drone
          ‘Playbook’ – Except for the Ones That Really Matter Most (Aug. 8, 2016),
          https://www.aclu.org/ blog/speak-freely/details-abound-drone-playbook-except-ones-
          really-matter-most; ACLU, Leaving Girls Behind: An Analysis of Washington D.C.’s
          “Empowering Males of Color” Initiative (2016), https://www.aclu.org/ report/leaving-
          girls-behind; Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of
          Secretive Stingray Use in Florida (Feb. 22, 2015), https://www.aclu.org/blog/free-
          future/aclu-obtained-documents-reveal-breadth-secretive-stingray-use-florida; Nathan
          Freed Wessler, FBI Documents Reveal New Information on Baltimore Surveillance
          Flights (Oct. 30, 2015), https://www.aclu.org/blog/free-future/fbi-documents-reveal-new-
          information-baltimore-surveillance-flights; Ashley Gorski, New NSA Documents Shine
          More Light into Black Box of Executive Order 12333 (Oct. 30, 2014),
          https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-executive-
          order-12333.
                  15
                    See, e.g., ACLU v. ODNI—FOIA Lawsuit Seeking Records About Government
          Surveillance Under the USA Freedom Act, ACLU Case Page,
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 8 of 12




                 The ACLU website includes many features on information obtained
          through the FOIA. The ACLU maintains an online “Torture Database,” a
          compilation of over 100,000 pages of FOIA documents that allows researchers
          and the public to conduct sophisticated searches of its contents relating to
          government policies on rendition, detention, and interrogation.16 The ACLU has
          also published a number of charts and explanatory materials that collect,
          summarize, and analyze information it has obtained through the FOIA.17

                 The ACLU plans to analyze, publish, and disseminate to the public
          information gathered through this Request. The records requested are not sought

          https://www.aclu.org/cases/aclu-v-odni-foia-lawsuit-seeking-records-about-government-
          surveillance-under-usa-freedom-act; ACLU v. DOJ—FOIA Lawsuit Seeking Information
          on Federal Agencies’ Surveillance of Social Media, ACLU Case Page,
          https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-seeking-information-federal-agencies-
          surveillance-social-media; ACLU v. DOJ—FOIA Case for Records Relating to Targeted
          Killing Law, Policy, and Casualties, ACLU Case Page, https://www.aclu.org/cases/aclu-
          v-doj-foia-case-records-relating-targeted-killing-law-policy-and-casualties; Executive
          Order 12,333—FOIA Lawsuit, ACLU Case Page, https://www.aclu.org/cases/executive-
          order-12333-foia-lawsuit; ACLU Motions Requesting Public Access to FISA Court
          Rulings on Government Surveillance, ACLU Case Page,
          https://www.aclu.org/cases/aclu-motions-requesting-public-access-fisa-court-rulings-
          government-surveillance; ACLU v. DOJ—FOIA Lawsuit Demanding OLC Opinion
          “Common Commercial Service Agreements, ACLU Case Page,
          https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-demanding-olc-opinion-common-
          commercial-service-agreements; FOIA Request for Justice Department Policy Memos on
          GPS Location Tracking, ACLU Case Page, https://www.aclu.org/cases/foia-request-
          justice-department-policy-memos-gps-location-tracking; Florida Stingray FOIA, ACLU
          Case Page, https://www.aclu.org/cases/florida-stingray foia; Nathan Freed Wessler,
          ACLU-Obtained Documents Reveal Breadth of Secretive Stingray Use in Florida, (Feb.
          22, 2015) https://www.aclu.org/blog/free-future/aclu-obtained-documents-reveal-breadth-
          secretive-stingray-use-florida?redirect=blog/national-security-technology-and-
          liberty/aclu-obtained-documents-reveal-breadth-secretive-sting.
                  16
                    The Torture Database, ACLU Database, https://www.thetorturedatabase.org;
          see also Countering Violent Extremism FOIA Database, ACLU Database,
          https://www.aclu.org/foia-collection/cve-foia-documents; TSA Behavior Detection FOIA
          Database, ACLU Database, https://www.aclu.org/foia-collection/tsa-behavior-detection-
          foia-database; Targeted Killing FOIA Database, ACLU Database,
          https://www.aclu.org/foia-collection/targeted-killing-foia-database.
                  17
                    Index of Bush-Era OLC Memoranda Relating to Interrogation, Detention,
          Rendition and/or Surveillance, ACLU (Mar. 5, 2009),
          https://www.aclu.org/sites/default/files/pdfs/ safefree/ olcmemos_2009_0305.pdf;
          Summary of FISA Amendments Act FOIA Documents Released on November 29, 2010,
          ACLU (Nov. 29, 2010), https://www.aclu.org/files/pdfs/natsec/faafoia
          20101129/20101129Summary.pdf; Statistics on NSL’s Produced by Department of
          Defense, ACLU, https://www.aclu.org/sites/default/files/field_document/nsl_stats.pdf.
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 9 of 12




          for commercial use and the Requesters plan to disseminate information disclosed
          as a result of this Request to the public at no cost.

          B.      The records sought are urgently needed to inform the public about actual
                  or alleged government activity.

                  These records are urgently needed to inform the public about actual or
          alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II).18 Specifically,
          they pertain to how BOP plans to reincarcerate thousands of people when the
          President lifts the COVID-19 emergency declaration. As discussed in Part I,
          supra, there is ongoing public controversy and media attention about the prospect
          of people being forced back to prison even if they have complied with the terms
          of their home confinement and the President is now considering granting
          clemency to some of these people. The records sought relate to a matter of
          widespread and exceptional media interest in the fate of the people BOP placed in
          home confinement pursuant to the CARES Act.19

                   Further underscoring the urgency of informing the public about how
          thousands of people may be reincarcerated, at issue in this Request is the strong
          media interest in the government’s plans to implement OLC’s controversial
          memorandum.20 Given this media interest and the lack of full public record about
          the process by which many people may be reincarcerated, there is an urgent need
          to for the public to access the requested documents. Expedited processing is
          therefore appropriate under 5 U.S.C. § 552(a)(6)(E) and the Department of Justice
          implementing regulations.21

                             IV. Application for Waiver or Limitation of Fees

                  The ACLU requests a waiver of document search, review, and duplication
          fees on the grounds that disclosure of the requested records is in the public
          interest and because disclosure is “likely to contribute significantly to public
          understanding of the operations or activities of the government and is not
          primarily in the commercial interest of the requester.” 5 U.S.C.
          § 552(a)(4)(A)(iii).22 The ACLU also requests a waiver of search fees on the

                  18
                       See also 28 C.F.R. § 16.5(e)(1)(ii).
                  19
                       See note 4, supra.
                  20
                     See Kevin Ring, “It’s impossible to overstate how much the lack of
          transparency and communication by the administration is contributing to people’s anxiety
          and fear.” Twitter @KevinARing, (Sept. 13, 2021)
          https://twitter.com/KevinARing/status/1437559852868546567?s=20
                  21
                       See also 28 C.F.R. § 16.5(e)(1)(ii).
                  22
                       See also 28 C.F.R. § 16.10(k)(2).
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 10 of 12




           grounds that the ACLU qualifies as a “representative of the news media” and the
           records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

           A.      The Request is likely to contribute significantly to public understanding of
                   the operations or activities of the government and is not primarily in the
                   commercial interest of the ACLU.

                   As discussed above, this Request concerns how the government plans to
           reincarcerate people at the end of the pandemic. The records sought are certain to
           contribute to the public’s understanding of how people on home confinement will
           be treated when the President lifts the emergency declaration.

                   The ACLU is not filing this Request to further its commercial interest. As
           described above, the ACLU is a noncommercial organization, and any
           information disclosed by the ACLU as a result of this FOIA Request will be
           available to the public at no cost. Thus, a fee waiver would fulfill Congress’s
           legislative intent in amending FOIA. See Judicial Watch, Inc. v. Rossotti, 326
           F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress amended FOIA to ensure that it be
           liberally construed in favor of waivers for noncommercial requesters.” (quotation
           marks omitted)).

           B.      The ACLU is a representative of the news media and the records are not
                   sought for commercial use.

                   The ACLU also requests a waiver of search fees on the grounds that the
           ACLU qualifies as a “representative of the news media” and the records are not
           sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).23 The ACLU meets
           the statutory and regulatory definitions of a “representative of the news media”
           because it is an “entity that gathers information of potential interest to a segment
           of the public, uses its editorial skills to turn the raw materials into a distinct work,
           and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III)24; see
           also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir. 1989)
           (finding that an organization that gathers information, exercises editorial
           discretion in selecting and organizing documents, “devises indices and finding
           aids,” and “distributes the resulting work to the public” is a “representative of the
           news media” for purposes of the FOIA); Serv. Women’s Action Network v. Dep’t
           of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including ACLU,
           were representatives of the news media and thus qualified for fee waivers for
           FOIA requests to the Department of Defense and Department of Veterans
           Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011 WL
           887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of


                   23
                        See also 28 C.F.R. § 16.10(k)(2)(ii)–(iii).
                   24
                        See also 28 C.F.R. § 16.10(b)(6).
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 11 of 12




           Washington is an entity that “gathers information of potential interest to a
           segment of the public, uses its editorial skills to turn the raw materials into a
           distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp. 2d
           at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
           disseminating information”). The ACLU is therefore a “representative of the news
           media” for the same reasons it is “primarily engaged in the dissemination of
           information.”

                   Furthermore, courts have found other organizations whose mission,
           function, publishing, and public education activities are similar in kind to the
           ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
           Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr., 241
           F. Supp. 2d at 10–15 (finding non-profit public interest group that disseminated
           an electronic newsletter and published books was a “representative of the news
           media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at 1387; Judicial
           Watch, Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54 (D.D.C. 2000) (finding
           Judicial Watch, self-described as a “public interest law firm,” a news media
           requester).25

                  On account of these factors, fees associated with responding to FOIA
           requests are regularly waived for the ACLU as a “representative of the news
           media.”26 As was true in those instances, the ACLU meets the requirements for a
           fee waiver here.

                   25
                      Courts have found these organizations to be “representatives of the news
           media” even though they engage in litigation and lobbying activities beyond their
           dissemination of information and public education activities. See, e.g., Elec. Privacy Info.
           Ctr., 241 F. Supp. 2d 5; Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership
           Conference on Civil Rights, 404 F. Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d
           at 53–54.
                   26
                      The ACLU regularly receives FOIA fee waivers from federal agencies. For
           example, in June 2018, the U.S. Citizenship and Immigration Services granted a fee-
           waiver request regarding a FOIA request for documents relating to the use of social
           media surveillance. In August 2017, CBP granted a fee-waiver request regarding a FOIA
           request for records relating to a muster sent by CBP in April 2017. In June 2017, the
           Department of Defense granted a fee-waiver request regarding a FOIA request for
           records pertaining to the authorities approved by President Trump in March 2017 which
           allowed U.S. involvement in Somalia. In June 2017, the Department of Defense, the CIA,
           and the Office of Inspector General granted fee-wavier requests regarding a FOIA request
           for records pertaining to U.S. involvement in the torture of detainees in prisons in
           Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May 2017, CBP granted
           a fee-waiver request regarding a FOIA request for documents related to electronic device
           searches at the border. In April 2017, the CIA and the Department of State granted fee-
           waiver requests in relation to a FOIA request for records related to the legal authority for
           the use of military force in Syria. In March 2017, the Department of Defense Office of
           Inspector General, the CIA, and the Department of State granted fee-waiver requests
           regarding a FOIA request for documents related to the January 29, 2017 raid in al Ghayil,
Case 1:21-cv-03121-DLF Document 1-6 Filed 11/29/21 Page 12 of 12




                                              *       *       *

                  Pursuant to applicable statutes and regulations, the ACLU expects a
           determination regarding expedited processing within 10 days. See 5 U.S.C.
           § 552(a)(6)(E)(ii); 28 C.F.R. § 16.5(e)(4).

                   If the Request is denied in whole or in part, the ACLU asks that you
           justify all deletions by reference to specific exemptions to FOIA. The ACLU
           expects the release of all segregable portions of otherwise exempt material. The
           ACLU reserves the right to appeal a decision to withhold any information or deny
           a waiver of fees.

                  Thank you for your prompt attention to this matter. Please furnish the
           applicable records to:

                  Emma Andersson
                  American Civil Liberties Union
                  125 Broad Street, 18th Floor
                  New York, New York 10004
                  T: (347) 931-6337
                  eandersson@aclu.org

                  I affirm that the information provided supporting the request for expedited
           processing is true and correct to the best of my knowledge and belief. See 5
           U.S.C. § 552(a)(6)(E)(vi).

                  Sincerely,



                  Emma Andersson*
                  American Civil Liberties Union
                  125 Broad Street, 18th Floor
                  New York, New York 10004
                  T: (347) 931-6337
                  eandersson@aclu.org

                  *Admitted in California




           Yemen. In June 2016, the Office of the Director of National Intelligence granted a fee-
           waiver request regarding a FOIA request related to policies and communications with
           social media companies’ removal of “extremist” content. In May 2016, the FBI granted a
           fee-waiver request regarding a FOIA request issued to the Department of Justice for
           documents related to Countering Violent Extremism Programs.
